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                           Nos. 22-11014 & 22-11734

             In the United States Court of Appeals
                    for the Eleventh Circuit
                            TANETHIA HOLDEN,
                             Plaintiff-Appellant,
                                      v.
                HOLIDAY INN CLUB VACATIONS INCORPORATED,
                 F/K/A ORANGE LAKE COUNTRY CLUB, INC.,
                             Defendant-Appellee,
                                     and
                             MARK S. MAYER,
                             Plaintiff-Appellant,
                                      v.
                HOLIDAY INN CLUB VACATIONS INCORPORATED,
                 F/K/A ORANGE LAKE COUNTRY CLUB, INC.,
                             Defendant-Appellee.
On Appeal from the United States District Court for the Middle District of Florida
        Case No. 6:19-cv-02373-CEM-EJK (Hon. Carlos E. Mendoza)
        Case No. 6:20-cv-02283-GAP-EJK (Hon. Gregory A. Presnell)

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      Case Nos. 22-11014, 22-11734; Holden v. Holiday Inn, Mayer v. Holiday Inn


    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                 DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26(b) and Eleventh Circuit

Rule 26.1, Appellants hereby disclose the following list of known persons, associated

persons, firms, partnerships or corporations that have a financial interest in the

outcome of this case, including all subsidiaries, conglomerates, affiliates, parent

corporations, and other identifiable legal entities related to a party in this case:

Bitman, Ron J.

Dubbeld, Jon Paul

Finn, Michael D.

Holden, Tanethia

Holiday Inn Clubs Vacations Incorporated, f/k/a Orange Lake Country Club, Inc.

Isringhaus, Jordan

Jones, Bryan Scott

Marger, Ryan Christopher

Mayer, Mark S.

McEleney, Sean Edward

McGovern, Teris Anderson

Meyer, J. Andrew

Morat, Allison

O’Brien, Christopher


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Patterson, Pamela M.

Presnell, Gregory A.

Ruiz, Maria Helena

Sawhney, Neil K.

Swift, Aaron M.

Wessler, Matthew W.H.

      Pursuant to 11th Cir. R. 26.1-3(b), Plaintiff is not aware of any publicly traded

company or corporation that has an interest in the outcome of this case or appeal.


Dated: December 9, 2022                              /s/ Neil K. Sawhney
                                                     Neil K. Sawhney




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              STATEMENT REGARDING ORAL ARGUMENT

      The plaintiffs-appellants Tanethia Holden and Mark Mayer respectfully

request an opportunity to present oral argument in this appeal. This case presents

important questions concerning the proper interpretation of the Fair Credit

Reporting Act’s requirements. Oral argument will assist the Court in resolving these

important legal issues.




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                                  INTRODUCTION

       Accurate credit reporting is critical to participation in the modern American

economy. Jobs, housing, access to financial services—all can turn on the information

contained in an individual’s credit report. Precisely for this reason, Congress enacted

the Fair Credit Reporting Act. The law includes a number of measures designed to

protect consumers from the harms caused by the dissemination of inaccurate or

incomplete credit information. One of these measures is section 1681s-2, which

imposes duties on furnishers of consumer information—credit-card companies,

banks, and other lenders and creditors—to ensure that the information they furnish

to credit reporting agencies is not “inaccurate.” 15 U.S.C. § 1681s-2(a)(1)(A), (b)(1)(E).

       This appeal asks this Court to determine what the statute means when it refers

to “accuracy.” See id. Because Congress did not define the term, it should be

interpreted in line with its ordinary meaning—freedom from mistake or error.

Section 1681s-2 thus requires furnishers to reasonably ensure that the information they

report about consumers is free from mistake or error. This plain-text understanding

is consistent with the statute’s purpose “to prevent consumers from being unjustly

damaged because of inaccurate or arbitrary information in a credit report.” S. Rep.

No. 91-517, at 1 (1969).

       Yet the district court failed to apply the proper interpretation of section 1681s-2

here. Without analyzing the actual statutory text, the court held that the statute



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implicitly draws a threshold distinction between two categories: “factual”

inaccuracies and “legal” inaccuracies. An inaccuracy that falls in the former

category, the court acknowledged, can serve as the basis for a consumer’s section

1681s-2(b) claim. But, it concluded that a so-called “legal” inaccuracy—any dispute

over consumer information that may involve “legal” or “contractual” questions—

cannot. The district court therefore ruled that the plaintiffs were categorically

barred, as a matter of law, from proceeding with their claims, because in its view

their claims were based on a “legal” dispute over whether the plaintiffs continued to

owe payments to Holiday Inn Club after they terminated their timeshare contracts.

      This factual-vs.-legal framework cannot be squared with the statute’s plain

text, which makes no distinction between different forms of accuracy. And it

frustrates the FCRA’s core purposes by sharply limiting the types of inaccuracies that

credit-reporting agencies must try to detect and prevent. This Court should reject

the atextual “factual inaccuracy” threshold requirement applied by the district court,

interpret the statute in line with its text, and reverse the summary-judgment orders.

                       JURISDICTIONAL STATEMENT

      The district court had subject-matter jurisdiction under 28 U.S.C. § 1331,

because this case involves claims under the Fair Credit Reporting Act, 15 U.S.C.

§ 1681, et seq. This Court has jurisdiction over the appeal under 28 U.S.C. § 1291. The

district court in Tanethia Holden’s case entered its order granting summary



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judgment on February 28, 2022, Holden Dkt. 68, and Ms. Holden timely appealed

on March 30, 2022, Holden Dkt. 72. The district court in Mark Mayer’s case entered

its order granting summary judgment on April 21, 2022, Mayer Dkt. 59, and Mr.

Mayer timely appealed on May 20, 2022, Mayer Dkt. 61.1

                         STATEMENT OF THE ISSUES

      1. Did the district court err in interpreting the Fair Credit Reporting Act’s

requirement that furnishers report accurate and complete information about

consumers to credit reporting agencies to categorically bar liability whenever the

plaintiff’s claim allegedly relates to a so-called “legal dispute”?

                           STATEMENT OF THE CASE

I.    Statutory and regulatory background

      Congress enacted the Fair Credit Reporting Act in 1970 “to ensure fair and

accurate credit reporting, promote efficiency in the banking system, and protect

consumer privacy.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 52 (2007).2 As Congress

recognized, “[t]he banking system”—and indeed, much else in our economy—“is

dependent upon fair and accurate credit reporting.” 15 U.S.C. § 1681(a)(1).



      1 References to “Holder Dkt.” are to the district court docket in case number

6:19-cv-02373, and references to “Mayer Dkt.” are to the district court docket in case
number 6:20-cv-02283. Page numbers refer to the page number that appears in the
header generated by the district court’s electronic filing system.

      2  Unless otherwise indicated, all internal citations, quotation marks, and
alterations are omitted.

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       Yet, far too often, companies “were reporting inaccurate information that was

adversely affecting” consumers. Dalton v. Capital Assoc. Indus., Inc., 257 F.3d 409, 414

(4th Cir. 2001). As one of the Act’s sponsors observed at the time of its introduction,

“[p]erhaps the most serious problem in the credit reporting industry is the problem

of inaccurate or misleading information.” 115 Cong. Rec. 2411 (1969). Another sponsor

cautioned that, with the increasing computerization of personal data, “the individual

is in great danger of having his life and character reduced to impersonal ‘blips’ and

key-punch holes in a stolid and unthinking machine which can literally ruin his

reputation without cause, and make him unemployable or uninsurable, as well as

deny him the opportunity to obtain a mortgage to buy a home.” Bryant v. TRW, Inc.,

689 F.2d 72, 79 (6th Cir. 1982) (quoting 116 Cong. Rec. 36570 (1970)).

       As a result, and motivated by “concerns about the accuracy of information

disseminated” by credit reporting agencies, Galper v. JP Morgan Chase Bank, N.A., 802

F.3d 437, 444 (2d Cir. 2015), Congress passed the Act “to prevent consumers from

being unjustly damaged because of inaccurate or arbitrary information in a credit

report,” S. Rep. No. 91-517, at 1. The FCRA was specifically “crafted to protect

consumers from the transmission of inaccurate information about them, and to

establish credit reporting practices that utilize accurate, relevant, and current

information in a confidential and responsible manner.” Guimond v. Trans Union Credit

Info. Co., 45 F.3d 1329, 1333 (9th Cir. 1995). To that end, the statute included “a variety



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of measures designed to insure that agencies report accurate information.” Dalton,

257 F.3d at 414–15.

       In 1996, Congress amended the FCRA to make clear that so-called

“furnishers”—companies that supply information about consumers to credit-

reporting agencies—likewise have a duty to ensure that the information they report

is accurate. See Consumer Credit Reporting Reform Act of 1996, Pub. L. No. 104–

208, ch. 1, sec. 2413, § 623, 110 Stat. 3009 (codified as amended at 15 U.S.C. § 1681s-2);

see also, e.g., H.R. Rep. No. 108–396, at 1753–54 (2003) (Conf. Rep.); Chiang v. Verizon

New England Inc., 595 F.3d 26, 35 (1st Cir. 2010) (describing amendments). These

amendments sought “to close an identified ‘gap in the FCRA’s coverage,’ whereby

even dutiful investigations of consumer disputes by [credit reporting agencies] could

be frustrated by furnishers’ irresponsible verification of inaccurate information,

without legal consequence to the furnishers.” Id. (quoting S. Rep. No. 103–209, at 6

(1993)).

       As amended, the FCRA imposes two distinct obligations on furnishers like

Holiday Inn Club.3 See Felts v. Wells Fargo Bank, N.A., 893 F.3d 1305, 1312 (11th Cir. 2018).

First, a furnisher is prohibited from “furnish[ing] any information relating to a



       3 There is no dispute that Holiday Inn Club is a “furnisher” under the FCRA,

given that it “furnishes information relating to consumers to one or more consumer
reporting agencies for inclusion in a consumer report.” 12 C.F.R. § 1022.41(c).


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consumer to any consumer reporting agency if [it] knows or has reasonable cause to

believe that the information is inaccurate.” 15 U.S.C. § 1681s-2(a)(1). Second, furnishers

“are required to take certain actions once notified by a [credit reporting agency] that

a consumer disputes the accuracy or completeness of her furnished information.”

Hunt v. JPMorgan Chase Bank, Nat’l Ass’n, 770 F. App’x 452, 454 (11th Cir. 2019); see 15

U.S.C. § 1681s-2(b).4 Specifically, the FCRA requires a furnisher to “(A) conduct an

investigation with respect to the disputed information; (B) review all relevant

information provided by the consumer reporting agency . . . ; [and] (C) report the

results of the investigation to the consumer reporting agency.” 15 U.S.C. § 1681s-2(b)(1).

If the investigation determines that the disputed information is inaccurate,

incomplete, or unverifiable, the furnisher must “modify,” “delete,” or “permanently

block the reporting of that item of information.” Id. § 1681s-2(b)(1)(E). A consumer may

sue a furnisher and recover damages if the furnisher willfully or negligently violates

§ 1681s-2(b)’s requirements. See 15 U.S.C. §§ 1681n, 1681o.

      “The appropriate touchstone for evaluating a furnisher’s investigation under

§ 1681s-2(b) is ‘reasonableness.’” Felts, 893 F.3d at 1312. Although “what constitutes a



      4 Consumers generally dispute the accuracy of their credit reports directly with

credit reporting agencies. The FCRA requires that the agencies notify furnishers of
these disputes. See 15 U.S.C. § 1681i(a)(2).Consumers may also file disputes directly with
furnishers, but the FCRA does not provide a private right of action for violations of
the furnisher’s obligation to investigate such direct disputes. See 15 U.S.C. § 1681s-
2(a)(8) & (c)(1).

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‘reasonable investigation’ will vary depending on the circumstances of the case,” this

Court has explained that “§ 1681s-2(b) requires some degree of careful inquiry by

furnishers of information.” Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1302–03

(11th Cir. 2016). “Whether a furnisher’s investigation is reasonable will depend in part

on the status of the furnisher—as an original creditor, a collection agency collecting

on behalf of the original creditor, a debt buyer, or a down-the-line buyer—and on

the quality of documentation available to the furnisher.” Id. at 1302. The

reasonableness of a furnisher’s investigation is therefore a “a factual question” that

should “normally be reserved for trial.” Id. at 1303.

       Like other courts, this Court has held that an FCRA plaintiff must make a

threshold showing that the challenged credit information is inaccurate before

proceeding with their claim against a furnisher. See Felts, 893 F.3d at 1313; see also, e.g.,

Gross v. CitiMortgage, Inc., 33 F.4th 1246, 1251 (9th Cir. 2022) (“[T]o prevail on a FCRA

claim against a furnisher, a consumer must make a prima facie showing that the

furnisher’s report was inaccurate.”). Although the FCRA itself does not define

“accuracy,” the regulations implementing the statute’s requirements for furnishers

do. See, e.g., 12 C.F.R. § 1022.41(a). Specifically, they provide:

       Accuracy means that information that a furnisher provides to a
       consumer reporting agency about an account or other relationship with
       the consumer correctly:
             (1) Reflects the terms of and liability for the account or other
             relationship;



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              (2) Reflects the consumer’s performance and other conduct with
              respect to the account or other relationship; and
              (3) Identifies the appropriate consumer.

Id. This Court has also recognized that “accuracy” under the FCRA means more

than just “technical” accuracy. Erickson v. First Advantage Background Servs. Corp., 981

F.3d 1246, 1251 (11th Cir. 2020). Rather, to be accurate, information must “be both

technically accurate and not misleading.” Id. In other words, “[i]f a report is so

misleading that it is objectively likely to cause the intended user to take adverse action

against its subject, it is not maximally accurate.” Id. at 1252; see also, e.g., Seamans v.

Temple Univ., 744 F.3d 853, 865 (3d Cir. 2014).

II.    Factual background

       Holiday Inn Club is a timeshare company. Its customers, like the plaintiffs

here, pay for the right to use one or more of the company’s vacation properties for a

specified amount of time per year—typically one or two weeks. The buyer also agrees

to pay homeowners’ association dues covering maintenance and taxes on the

property. Although some buyers pay upfront, many (including the plaintiffs here)

finance their purchases through the company selling the units. See Gretchen

Morgenson, The Timeshare Hard Sell Comes Roaring Back, N.Y. Times (Jan. 22, 2016),

https://perma.cc/N35X-N33K?type=standard. Timeshare companies like Holiday

Inn Club rely on “high-pressure sales practices,” and customers who succumb to

these practices are typically locked into the timeshare for life. See id. According to a



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University of Central Florida study, the vast majority (up to 85%) of timeshare

owners “regret their purchase.” Christopher Elliott, Trapped in a timeshare? Here’s how

to escape, USA Today (Dec. 26, 2018), https://perma.cc/LAP8-QYBU; see also

Barbara Peterson, Trouble in Timeshare Paradise, Consumer Reports (Dec. 19, 2019),

https://perma.cc/KM9X-89Y6.

      A. Ms. Holden’s case

      Tanethia Holden entered into an agreement with Holiday Inn Club in June

2016 to purchase a timeshare in Las Vegas. Holden Dkt. 48-1. She paid approximately

$2,000 as a down payment and financed the remaining $18,000 of the purchase.

Holden Dkt. 48-1 at 3. The contract provided that the transaction would not be

deemed closed until (1) Ms. Holden made the first three monthly installment

payment; and (2) Holiday Inn Club recorded the deed in Ms. Holden’s name. Id. at

5. The contract also included as paragraph 13 a section entitled “PURCHASER’S

DEFAULT.” Id. at 6. It provided, in relevant part, that “[u]pon Purchaser’s default

or breach of any term of this Agreement, all sums paid hereunder by Purchaser shall

be retained by [Holiday Inn Club] as liquidated damages, not as penalty, and the

parties hereto shall be relieved from all obligations hereunder.” Id. The agreement

also specifically noted that “[a]ny Note Payments made by Purchaser prior to closing

shall be subject to the default provisions of paragraph 13.” Id. at 5.




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      Although Ms. Holden made her first three monthly installment payments,

Holiday Inn Club did not record the deed as required by the agreement. Holden

Dkt. 48-2 at 3–4; Holden Dkt. 48-3 at 68. On March 9, 2017, Ms. Holden’s counsel

sent a letter to Holiday Inn Club advising the company that she “no longer

intend[ed] to make further payments.” Holden Dkt. 9-5 at 2. Two weeks later, Ms.

Holden’s counsel sent another letter stating that Ms. Holden considered the

timeshare agreement cancelled, and again advising the company that she did not

intend to make further payments. Holden Dkt. 9-6 at 2–3. Nevertheless, on June 19,

2017—nearly three months after Ms. Holden first notified Holiday Inn Club of her

default—the company recorded the deed in her name. Holden Dkt. 9-7 at 3; Holden

Dkt. 48-3 at 68. When asked why Holiday Inn Club recorded the deed in Ms.

Holden’s name after she defaulted under the contract, the company’s corporate

representative testified, “I’m not sure. I don’t know.” Id. at 68–69.

      Eventually, Ms. Holden learned that Holiday Inn Club was inaccurately

reporting that she continued to owe the debt under her timeshare agreement to

Experian, a credit reporting agency. She sent a letter to both Holiday Inn Club and

Experian in June 2018 disputing the reported debt and informing them that she had

canceled the timeshare agreement. Holden Dkt. 9-14. Holiday Inn Club purportedly

verified that the information it furnished to Experian was accurate, and Experian

continued to report the debt on Ms. Holden’s credit report. Holden Dkt. 48-3 at 82–



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86. Ms. Holden disputed the reporting of the debt two more times with Experian,

with the same results. Holden Dkt. 48-2 at 6; see Holden Dkts. 9-16, 9-17, 9-18. Experian

thus continues to erroneously report that Ms. Holden owes over $25,000 to Holiday

Inn Club, more than $4,000 of which is reportedly “past due.” Holden Dkt. 48-2 at

5–6. This inaccurate reporting harmed Ms. Holden. In early 2019, for example, Ms.

Holden’s application for a mortgage was denied in part because of Holiday Inn

Club’s negative and derogatory reporting on her Experian credit report. Holden

Dkt. 1 at 14.

       After her repeated efforts to address these inaccuracies failed, Ms. Holden filed

this FCRA action against Holiday Inn Club and Experian.5 In particular, she alleged

that Holiday Inn Club violated section 1681s-2(b) by inaccurately reporting that she

continued to owe a debt to Holiday Inn Club and failing to reasonably investigate

Ms. Holden’s disputes about that alleged debt. Holden Dkt. 1 at 20–21. She also

alleged that Experian violated sections 1681e(b) and 1681i(a)(1)—claims that the credit

reporting agency and Ms. Holden eventually settled. Id. at 21–27; Holden Dkt. 35 &

36. The parties both moved for partial summary judgment on the only remaining

claim under section 1681s-2(b). Holden Dkts. 46 & 48.




       5 Ms. Holden also alleged that Holiday Inn Club’s collection attempts violated

the Florida Consumer Collection Practices Act, Fla. Stat. § 559.72. See Holden Dkt. 1
at 15–19. Those state-law claims are not at issue in this appeal.

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       The district court granted Holiday Inn Club’s motion and denied Ms.

Holden’s. Agreeing with Holiday Inn Club, the district court held that section 1681s-

2(b) only permits claims based on “factual inaccuracies.” Holden Dkt. 68 at 6. By

contrast, the court reasoned, inaccuracies relating to “contract” and “legal disputes”

are simply not actionable under the FCRA. Id. at 6–8. Accordingly, the district court

concluded that Ms. Holden’s “FCRA claim must fail.” Id. at 8. The court did not

analyze the statute’s text or structure, nor did it address any other aspect of Ms.

Holden’s section 1681s-2(b) claim, such as whether Holiday Inn Club’s investigations

of the dispute were reasonable.

       B. Mr. Mayer’s case

       Mark Mayer entered into a contract in September 2014 with Holiday Inn Club

for a timeshare in Cape Canaveral, Florida. This contract’s terms were similar to

those in Ms. Holden’s contract. As in Ms. Holden’s contract, paragraph 13 of Mr.

Mayer’s contract provided that, upon his breach or default of any term of the

agreement, Holiday Inn Club shall retain all payments as “liquidated damages” and

the parties “shall be relieved from all obligations” under the contract. Mayer Dkt.

28-1 at 5. And the contract clarified that “[i]t is the express consent of the parties that

the terms of this paragraph shall survive the closing of the Agreement.” Id.

       Mr. Mayer made his monthly installment payments between November 2014

and July 2017. Mayer Dkt. 48-1 at 4. He ceased making payments on the timeshare in



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July 2017, which qualified as a default under paragraph 13—allowing Holiday Inn

Club to retain the previous payments as liquidated damages and relieving Mr. Mayer

from any obligations under the contract. Id. After Mr. Mayer’s default, Holiday Inn

Club did not attempt to collect further payments from him. Mayer Dkt. 28 at 8.

      As with Ms. Holden, Holiday Inn Club continued to report Mr. Mayer’s

alleged debt to credit reporting agencies, including Experian, despite the fact that

Mr. Mayer had terminated the contract. After reviewing his Experian credit report,

Mr. Mayer sent multiple letters to Experian over two years explaining that the

contract was terminated and disputing that he had a balance of more than $10,000

due to Holiday Inn Club, of which more than $4,000 was reportedly past due. Mayer

Dkt. 48-1 at 5–6. In several of these letters, Mr. Mayer specifically requested that the

account associated with the Holiday Inn Club timeshare be “marked as disputed.”

Mayer Dkt. 48-1 at 6. Experian communicated each dispute to Holiday Inn Club,

who certified on each occasion that the information for Mayer’s account was

accurate. Mayer Dkt. 48-1 at 5–6. Neither Holiday Inn Club nor Experian took any

action to modify or remove the information about Mr. Mayer’s terminated timeshare

account.

      Concerned about the negative effects that Holiday Inn Club’s reporting would

have on his credit, Mr. Mayer filed this FCRA action. Like Ms. Holden, Mr. Mayer

alleges a section 1681s-2(b) claim against Holiday Inn Club, and section 1681e(b) and



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1681i(a) claims against Experian.6 Mayer Dkt. 28 at 14–18 (operative complaint).

Holiday Inn Club moved for partial summary judgment, which the district court

granted solely on the ground that Mr. Mayer’s FCRA claim “is based on a legal

dispute that is not actionable under the FCRA.” Mayer Dkt. 59 at 7.

                         SUMMARY OF ARGUMENT

      The Fair Credit Reporting Act imposes duties on furnishers of consumer

information to ensure that the information they report to credit reporting agencies

is accurate. Without any statutory analysis, the district court concluded that a

consumer is barred from bringing a claim against a furnisher if the challenged

information concerns a “legal dispute,” as opposed to a “factual inaccuracy.”

Because the district court’s interpretation of the FCRA conflicts with the statute’s

text, structure, and purposes, it must be reversed.

      Statutory interpretation begins with the plain text. The term “accuracy” used

in section 1681s-2 must be given its ordinary meaning: freedom from mistake or error.

Thus, when information in a credit report is not free from mistake or error, it is

inaccurate within the meaning of the statute. Nothing in the statutory text

contemplates a distinction between “legal” inaccuracies and “factual” inaccuracies,




      6 Mr. Mayer’s FCRA claims against Experian were settled and dismissed, and

are not at issue on this appeal. Mayer Dkts. 42 & 43.

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or between any other “categories” of inaccuracies. But the district court simply

ignored the plain text—an error that, standing alone, warrants reversal.

      The statute’s structure and purpose confirm that the district court’s

interpretation was deeply flawed. Congress made clear in section 1681s-2 that

furnishers have a broad duty to ensure that “any” dispute information is accurate—

and Congress specifically included in the provision requirements relating to certain

types of “legal” information. Yet, disregarding the language that Congress chose, the

district court gave “accuracy” an extremely narrow reading—one that covers only

“factual” accuracy. This reading subverts the FCRA’s purpose: to protect consumers

from the dissemination of inaccurate or incomplete information. Nor can it be

squared with the implementing regulations, which make clear that furnishers’

accuracy obligations extend to information concerning a consumer’s “liability” and

“performance”—that is, legal information. The federal agencies charged with

enforcing the statute have thus agreed, including in litigation before this Court, that

the statute does not distinguish between legal and factual inaccuracies.

      Against all this, the district court rested its holding entirely on an unpublished

decision by this Court—which itself relied on an outlier First Circuit decision that

did not engage in any statutory analysis and invoked flawed policy justification cases.

That thin reed of precedent cannot override the statute’s plain text. This Court

should therefore hold that section 1681s-2 applies to “legal disputes” and reverse.



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                              STANDARD OF REVIEW

       “This Court reviews a district court’s grant of summary judgment de novo,

viewing all facts and reasonable inferences in the light most favorable to the

nonmoving party.” Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1300 (11th Cir.

2016); see also Losch v. Nationstar Mortg. LLC, 995 F.3d 937, 942 n.3 (11th Cir. 2021).

                                      ARGUMENT

I.     The Fair Credit Reporting Act does not categorically immunize
       furnishers, like Holiday Inn Club here, from liability for
       reporting inaccurate information whenever it relates to a “legal
       dispute.”

       With little analysis, the district court in both cases concluded as a matter of

law that the plaintiffs could not bring section 1681s-2(b) claims against Holiday Inn

Club because their claims were based on so-called “legal disputes,” not “factual

inaccuracies.” But this interpretation of the statute finds no support in the FCRA’s

text, structure, or purpose. To the contrary, the FCRA imposes a duty on furnishers

to ensure that all information they report to credit reporting agencies is accurate and

complete—whether characterized as “legal” or “factual.” Indeed, the agencies

charged with administering and enforcing the FCRA have expressly recognized that

the statute makes no distinction between factual and legal disputes. The district

court’s contrary interpretation rests on outlier caselaw that failed to analyze the

statutory text and invoked flawed policy considerations. It therefore must be

reversed.



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       A.      The statute’s plain text does not recognize a distinction
               between “factual” and “legal” inaccuracies.

       This Court must “begin [its] analysis, as always, with the statutory text.” Cho

on behalf of States v. Surgery Partners, Inc., 30 F.4th 1035, 1040 (11th Cir. 2022); see, e.g., Kroner

v. Comm’r of Internal Revenue, 48 F.4th 1272, 1276 (11th Cir. 2022); In re Guillen, 972 F.3d

1221, 1226 (11th Cir. 2020).

       The relevant text here is relatively straightforward. A furnisher may not

“furnish any information relating to a consumer to any consumer reporting agency if

[it] knows or has reasonable cause to believe that the information is inaccurate.” 15

U.S.C. § 1681s-2(a)(1) (emphasis added). And a furnisher that receives a “dispute with

regard to the completeness or accuracy of any information provided by a person to

a consumer reporting agency” must investigate whether the “disputed information”

is “incomplete or inaccurate” and take prescribed actions if so. 15 U.S.C. § 1681s-2(b).

Nothing about this language suggests that certain types of inaccuracies are

actionable, while others are not. Indeed, section 1681s-2(b) requires a furnisher to

investigate the “accuracy” of “any information” about the individual that it furnished

to a credit reporting agency—from the amount the individual owes on a certain debt,

to the existence or validity of a debt, to whether the debt has been discharged or

cancelled.

       This understanding is confirmed by the “common and ordinary meaning” of

the word “accuracy.” Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714, 723 (11th Cir. 2021). As


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this Court has already held in the FCRA context, “accuracy” ordinarily means

“freedom from mistake or error.” See Erickson, 981 F.3d at 1251–52 (adopting this

dictionary definition); see also Norman v. Trans Union, LLC, 2020 WL 4735538, at *7 (E.D.

Pa. Aug. 14, 2020) (collecting definitions of “accuracy”). This plain and ordinary

definition of “accuracy” contemplates no distinction between different forms of

accuracy, whether labeled as “legal,” “factual,” or something else. In common,

everyday English, it would be equally “inaccurate” to assert that someone is liable

for a non-existent (or legally invalid) loan payment as it would be to misstate the

amount of a person’s loan—both assertions are not free from error. No ordinary

person would understand the first to be “accurate” but the second to be “inaccurate.”

      To determine whether information reported about an individual is accurate,

in other words, the only relevant question is whether the information was “free[]

from mistake or error.” And here, the information that Holiday Inn Club reported

to Experian about Ms. Holden and Mr. Mayer was not free from mistake or error:

The company erroneously reported that both plaintiffs owed thousands of dollars

under timeshare agreements that both plaintiffs terminated in compliance with the

terms of those agreements. Thus, both plaintiffs have demonstrated actionable

“inaccuracies” to support their section 1681s-2(b) claims against Holiday Inn Club.

      Violating the cardinal requirement of statutory interpretation, the district

court ignored the statute’s plain meaning. Indeed, in both cases, the district court



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did not even try to ground the “factual inaccuracy” threshold requirement in the

FCRA’s text. That was error: “It is axiomatic that the interpretation of a statute must

begin, and usually ends, with the text of the statute.” Boca Ciega Hotel, Inc. v. Bouchard

Transp. Co., 51 F.3d 235, 237 (11th Cir. 1995) (emphasis added). Section 1681s-2 requires

furnishers to reasonably ensure that the information they report to credit reporting

agencies is not “inaccurate”—regardless of whether the inaccuracy is allegedly

“legal” or “factual.” That plain text should have been the end of the district court’s

analysis on the threshold question of whether Holiday Inn Club had an obligation

under the FCRA to investigate the plaintiffs’ disputes.

       B.     The FCRA’s structure and purpose support the plaintiffs’
              textualist interpretation.

       The other “traditional tools of statutory construction”—context, structure,

and purposes—confirm that the district court erred in interpreting the FCRA’s

duties for furnishers to apply only to alleged “factual” inaccuracies. Autauga Cnty.

Emergency Mgmt. Commc’n Dist. v. FCC, 17 F.4th 88, 98–99 (11th Cir. 2021); see also King v.

Burwell, 576 U.S. 473, 474 (2015) (stating that courts “must read the words in their

context and with a view to their place in the overall statutory scheme”).

       To start, the particular language that Congress used throughout section 1681s-

2 reflects Congress’s intent that furnishers have a broad duty to ensure the accuracy

and completeness of all information they report about consumers. Once notified of

“a dispute with regard to the completeness or accuracy of any information provided


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by a person to a consumer reporting agency,” a furnisher must “conduct an

investigation with respect to the disputed information.” 15 U.S.C. § 1681s-2(b)(1) (emphasis

added). That Congress tasked furnishers with investigating “any” “disputed

information”—not just certain subsets of information—demonstrates that a

furnisher’s obligations do not turn on whether the disputed information is

characterized as “legal” or “factual.” See Lamie v. U.S. Tr., 540 U.S. 526, 538 (2004)

(noting that courts cannot “read an absent word into the statute”). The same is true

with the furnisher’s more general duty to provide accurate information to credit

reporting agencies: “A person shall not furnish any information relating to a consumer

to any consumer reporting agency if the person knows or has reasonable cause to

believe that the information is inaccurate.” 15 U.S.C. § 1681s-2(a)(1)(A).

       Moreover, section 1681s-2 specifically requires furnishers to accurately report

certain types of legal information. For example, the statute provides that it “shall not

be considered inaccurate” when a furnisher does not report a consumer’s “default

regarding a private education loan” so long as the consumer has complied with a

loan rehabilitation program. 15 U.S.C. § 1681s-2(a)(1)(E)(i). And the statute also

mandates that furnishers report certain credit obligations or accounts as “current”

for consumers who received “accommodation” during the Covid-19 pandemic. 15




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U.S.C. § 1681s-2(a)(1)(F)(ii).7 That section 1681s-2 actually requires furnishers to

accurately report specific “legal” information is strong evidence that the statute’s

more general accuracy duties also apply to disputed “legal” information.

      Other FCRA provisions similarly demonstrate that the district court’s “factual

inaccuracy” interpretation is implausible. See In re Cumbess, 960 F.3d 1325, 1333–34 (11th

Cir. 2020) (“[C]ourts should consider the entire text of a statute, in view of its

structure and of the physical and logical relation of its many parts, when interpreting

any particular part of the text.”). The statute imposes several accuracy-related duties

on not only furnishers, but also credit reporting agencies. See, e.g., 15 U.S.C.

§ 1681b(b)(3)(B)(i)(IV) (requiring CRAs to inform consumers about their right to

“dispute with the consumer reporting agency the accuracy or completeness of any

information in a report”); id. § 1681e(b) (requiring CRAs to follow reasonable

procedures to assure “maximum possible accuracy”); id. § 1681i(a)(1)(A) (requiring

CRAs to conduct a “reasonable reinvestigation to determine whether the disputed

information is inaccurate”). And none of these varied provisions—for furnishers or

credit reporting agencies—make any distinction between “factual” and “legal”

accuracy. Instead, they merely require efforts to assure “accuracy” in general.




      7 “Accommodation” is defined as including “an agreement to defer 1 or more

payments, make a partial payment, forbear any delinquent amounts, modify a loan
or contract, or any other assistance or relief.” 15 U.S.C. § 1681s-2(a)(1)(F)(i)(I).

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      Finally, the plaintiffs’ textualist interpretation of section 1681s-2(b) also

advances the statute’s purposes. Congress enacted the FCRA “to prevent consumers

from being unjustly damaged because of inaccurate or arbitrary information in a

credit report.” S. Rep. No. 91–517, at 1; see 15 U.S.C. § 1681. And Congress specifically

added section 1681s-2’s furnisher requirements in 1996 “to ensure that information

reported to consumer reporting agencies is accurate, that consumers are aware that

such information is furnished to consumer reporting agencies, and that furnishers of

information will respond in a responsible and timely manner to consumer disputes

about the accuracy and completeness of information in their consumer reports.”

H.R. Rep. No. 102–692, at 38 (1992). None of these statutory purposes are served by

categorically eliminating claims based on accuracies that turn on alleged “legal

disputes”—after all, an inaccuracy about the nature or validity of a consumer’s loan

obligation can be equally (if not more) damaging than an inaccuracy about the

amount of the obligation.

      Bottom line: The FCRA does not immunize furnishers, like Holiday Inn Club

here, from liability for reporting inaccurate information so long as it is not “factually”

inaccurate. “[T]he plain text, the statutory context, and common sense all lead

inescapably and unambiguously to that conclusion.” See Pereira v. Sessions, 138 S. Ct.

2105, 2110 (2018). Because the district court required the plaintiffs to make a threshold




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“factual inaccuracy” showing that cannot be reconciled with the statute’s text,

structure, or purpose, the summary-judgment orders should be reversed.

       C.     The plaintiffs’ interpretation is consistent with the FCRA’s
              implementing regulations and the views of the agencies
              charged with administering and enforcing the statute.

       In addition to the traditional tools of statutory construction, the regulations

implementing the FCRA’s requirements also show that furnishers’ accuracy-related

statutory duties cover more than merely “factual” inaccuracies.

       Section 1681s-2 tasks the Consumer Financial Protection Bureau, in

consultation with other agencies, to prescribe certain regulations identifying how

furnishers should investigate disputes concerning the accuracy of information. 15

U.S.C. § 1681s-2(a)(8)(A). These regulations specifically contemplate that furnishers

must ensure the accuracy of both factual and legal information they furnish to credit

reporting agencies.

       For example, one regulation explains that “[a]ccuracy means that information

that a furnisher provides to a consumer reporting agency about an account or other

relationship with the consumer correctly: (1) Reflects the terms of and liability for the

account or other relationship; (2) Reflects the consumer’s performance and other conduct with

respect to the account or other relationship; and (3) Identifies the appropriate consumer.”

12 C.F.R. § 1022.41(a) (emphasis added). Another regulation is even clearer on this




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point: “[A] furnisher must conduct a reasonable investigation of a direct dispute if it

relates to:

       (1) The consumer’s liability for a credit account or other debt with the
           furnisher, such as direct disputes relating to whether there is or has
           been identity theft or fraud against the consumer, whether there is
           individual or joint liability on an account, or whether the consumer
           is an authorized use of a credit account;

       (2) The terms of a credit account or other debt with the furnisher, such as
           direct disputes relating to the type of account . . . ;

       (3) The consumer’s performance or other conduct concerning an account or
           other relationship with the furnisher, such as direct disputes relating
           to the current payment status, high balance, date a payment was made,
           the amount of a payment made, or the date an account was opened
           or closed . . . .

12 C.F.R. § 1022.43(a). The regulations thus require a furnisher to accurately report

the “terms of a credit account” as well as the consumer’s “liability” and

“performance”—all information that could be described as “legal” in nature.8

       Given these regulations, it is not surprising that the CFPB has expressly

agreed—including in litigation before this Court—that the FCRA’s requirements for




       8 Holiday Inn Club may argue that these regulations are inapplicable here

because they impose requirements for “direct disputes” made by consumers to
furnishers under subsection (a), rather than the “indirect” disputes made by
consumers to credit reporting agencies under subsection (b). See 15 U.S.C. § 1681s-
2(a)(8)(A). But the regulations interpret the exact same statutory language used in
both subsections—“accuracy of information” and “inaccurate.” See SEC v. Levin, 849
F.3d 995, 1003 (11th Cir. 2017) (noting that “identical words and phrases within the
same statute should normally be given the same meaning”).


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furnishers do not distinguish between “legal” and “factual” inaccuracies. See CFPB

Amicus Br. 13–25, Milgram v. JPMorgan Chase Bank, N.A., No. 22-10250 (11th Cir. April

7, 2022); see also, e.g., CFPB Amicus Br. 9–16, Gross v. CitiMortgage, Inc., No. 20-17160 (9th

Cir. April 19, 2021). In the CFPB’s view, nothing in the FCRA “suggests that Congress

intended to exclude disputes that implicate legal issues.” CFPB Milgram Amicus Br.

16. “To the contrary, the accuracy and completeness of information in consumer files

often turns on legal issues, such as whether a debt is valid and whom it obligates.” Id.

What’s more, the CFPB explained, the factual-vs.-legal framework invoked by the

district court “would be hard to implement and would undermine the purposes of

the FCRA,” because issues can often be “characterized as either factual or legal or

both.” Id. at 12, 22. In light of the agencies’ “specialized experience” administering

and enforcing the FCRA, their reasonable interpretation of section 1681s-2(b) merits

“deference.” See Martin v. Soc. Sec. Admin., Comm’r, 903 F.3d 1154, 1159 (11th Cir. 2018)

(citing Skidmore v. Swift & Co., 323 U.S. 134, 139 (1944)).9

       The district court’s interpretation of the FCRA’s furnisher requirements

cannot be squared with the regulations and the federal agencies’ own understanding

of the statute. For this reason, too, the summary-judgment orders should be reversed.



       9 The CFPB and FTC have also determined that the FCRA’s provisions for

credit reporting agencies similarly make no distinction between “legal” and “factual”
inaccuracy. See CPFB & FTC Amicus Br. 11–22, Sessa v. Trans Union, LLC, No. 22-87
(2d Cir. May 5, 2022).

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      D.     The atextual distinction between “factual” and “legal”
             inaccuracies invoked by the district court is based on shaky
             precedent and flawed policy justifications.

      As explained above, the district court in both cases here did not analyze the

statute’s text, structure, or purpose before granting summary judgment in favor of

Holiday Inn Club. Instead, both decisions rested entirely on this Court’s unpublished

decision in Hunt v. JPMorgan Chase Bank, Nat’l Ass’n, 770 F. App’x 452 (11th Cir. 2019),

which they read to bar section 1681s-2(b) claims involving “disputed legal questions.”

See Holden Dkt. 68 at 6, 8; Mayer Dkt. 59 at 5–7.

      As an initial matter, the brief discussion in Hunt about “factual inaccuracy”

and “disputed legal questions” was dicta. That’s because this Court first determined

in Hunt that there was no inaccuracy at all—legal or factual. See Hunt, 770 F. App’x

at 458 (rejecting “Hunt’s argument that JPMC’s filing of the Foreclosure Action

relieved him of any obligation to make monthly payments on the mortgage”). To the

extent Hunt’s recognition of the “factual” vs. “legal” distinction was not dicta,

however, this Court should reject it. See Southern-Owners Ins. Co. v. Easdon Rhodes &

Assocs. LLC, 872 F.3d 1161, 1165 n.4 (11th Cir. 2017) (observing that this Court is “not

bound by unpublished decisions”); 11th Cir. R. 36-2 (providing that “[u]npublished

opinions are not considered binding precedent”).

      In suggesting that section 1681s-2(b)’s requirements for furnishers are limited to

“factual inaccuracies,” Hunt did not undertake any analysis of the statute’s text or



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any other effort at statutory construction. Rather, the only support that Hunt

identified for the distinction was an outlier First Circuit decision, Chiang v. Verizon New

Eng. Inc., 595 F.3d 26 (1st Cir. 2010), that “no other circuit court has followed . . . in

the furnisher context.” Hrebal v. Seterus, Inc., 598 B.R. 252, 270 (D. Minn. 2019),

reconsideration granted on other grounds in Hrebal v. Nationstar Mortg. LLC, 385 F. Supp. 3d

849 (D. Minn. 2019). For good reason: Chiang itself did not ground its invention of a

“factual inaccuracy” threshold requirement in any statutory analysis. See Chiang, 595

F.3d at 38. Instead, it imported that requirement from a case involving credit reporting

agencies’ obligations under the FCRA. See id. (citing DeAndrade v. Trans Union LLC, 523

F.3d 61, 67 (1st Cir. 2008)). “[J]ust as in suits against CRAs,” Chiang reasoned, “a

plaintiff’s required showing is factual inaccuracy, rather than the existence of disputed

legal questions.” Id.

       But Chiang’s equivalence between credit reporting agencies and furnishers

cannot withstand scrutiny. Congress itself recognized when enacting section 1681s-

2(b) that “it is creditors and other furnishers of information, not consumer reporting

agencies, that have direct access to the facts of a given credit transaction.” S. Rep.

No. 103–209, at 6. Thus, “[o]rdinarily, the creditor is best situated to determine

whether the information it reported was inaccurate or incomplete and to ensure its

correction.” Id. Other courts have similarly appreciated these differences between

furnishers and credit reporting agencies. As the Fourth Circuit explained, “[c]laims



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brought against CRAs based on a legal dispute of an underlying debt raise concerns

about ‘collateral attacks’ because the creditor is not a party to the suit, while claims

against furnishers . . . do not raise this consideration because the furnisher is the

creditor on the underlying debt.” Saunders v. Branch Banking & Tr. Co. of VA, 526 F.3d

142, 150 (4th Cir. 2008); see also, e.g., Carvalho v. Equifax Info. Servs., LLC, 629 F. 3d 876,

892 (9th Cir. 2010) (noting that “[a furnisher] stands in a far better position to make

a thorough investigation of a disputed debt than the CRA does on reinvestigation”).

       For this reason, courts have held—contrary to Chiang—that the “FCRA will

sometimes require furnishers to investigate, and even to highlight or resolve,

questions of legal significance.” Gross v. CitiMortgage, Inc., 33 F.4th 1246, 1253 (9th Cir.

2022). As the Seventh Circuit put it, “it makes sense that furnishers shoulder this

burden: they assumed the risk and bear the loss of unpaid debt, so they are in a better

position to determine the legal validity of a debt.” Denan v. Trans Union LLC, 959 F.3d

290, 295 (7th Cir. 2020). Adopting an “ambiguous” “distinction between ‘legal’ and

‘factual’ issues,” by contrast, would be “potentially unworkable, and could invite

furnishers to evade their investigation obligation by construing the relevant dispute

as a ‘legal’ one.” Gross, 33 F.4th at 1253.

       In the end, however, none of these policy considerations should bear on the

Court’s interpretation of section 1681s-2(b). Instead, the statute’s “text must control.”

Harper v. Better Bus. Servs., Inc., 961 F.2d 1561, 1563 (11th Cir. 1992). The FCRA “has been



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drawn with extreme care, reflecting the tug of the competing interests of consumers,

CRAs, furnishers of credit information, and users of credit information.” Nelson v.

Chase Manhattan Mortg. Corp., 282 F.3d 1057, 1060 (9th Cir. 2002). In considering these

interests, Congress determined that furnishers have a duty to ensure that the

information they furnish to credit reporting agencies should be accurate—without

regard to whether that information relates to “factual” or “legal” issues. “It is not for

a court to remake the balance struck by Congress.” See id. Because that is precisely

what the district court did in granting Holiday Inn Club’s motions for summary

judgment, this Court should reverse.

II.    Because Holiday Inn Club furnished inaccurate information
       about the plaintiffs to Experian, the district court erred in
       granting summary judgment.

       For all the reasons above, section 1681s-2(b) does not distinguish between

“factual” and “legal” inaccuracies. Thus, the question before the district court on

summary judgment should have been whether the plaintiffs demonstrated that

Holiday Inn Club furnished inaccurate or incomplete information—whether

characterized as “legal” or not—about their timeshare accounts to Experian. See

Felts, 893 F.3d at 1313.

       The answer to that question is yes. Here, Holiday Inn Club reported that both

plaintiffs owed thousands of dollars to Experian on their timeshares, with much of

that balance past due. Yet, in both cases, the plaintiffs no longer had any debt



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outstanding to Holiday Inn Club—a fact that must be viewed in the light most

favorable to the plaintiffs given the disputed issues present at summary judgment.

This is especially clear for Ms. Holden: She informed Holiday Inn Club that she was

defaulting on the agreement and refusing to make any further payments before the

company recorded the deed on the timeshare—meaning that the transaction

between Ms. Holden and Holiday Inn Club never closed, and she was never on the

hook for additional payments. But the same is also true for Mr. Mayer. Although the

deed was recorded in his case, the plain terms of the contract provided that, when

he notified Holiday Inn Club of his default, the company retained all previous

payments as “liquidated damages” and Mr. Mayer was “relieved from all

obligations.” Mayer Dkt. 28-1 at 5. And both plaintiffs repeatedly notified Holiday

Inn Club (and Experian) in writing that they terminated their timeshare contracts

pursuant to their terms and thus owed no additional payments to Holiday Inn Club.

      Despite all this, Holiday Inn Club continued to inaccurately report to

Experian that the plaintiffs owed significant debt on their timeshare accounts. That

inaccurate reporting is sufficient for the plaintiffs to proceed with their FCRA claims

against Holiday Inn Club. This would be the case even if, as Holiday Inn Club

contended below, it would have been difficult for the company to fully resolve the

plaintiffs’ dispute. Indeed, the statute specifically contemplates this possibility: It

commands a furnisher to modify, delete, or permanently block the reporting of



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information if it is “inaccurate,” “incomplete,” or “cannot be verified.” 15 U.S.C.

§ 1681s-2(b)(1)(E) (emphasis added). So here, because Holiday Inn Club admitted that

it could not verify the information due to the alleged legal nature of the dispute, it

should have taken the actions prescribed by the statute.

      To be sure, that the plaintiffs have shown an inaccuracy for purposes of their

section 1681s-2(b) claims does not mean that they will necessarily succeed on the merits

of these claims. The plaintiffs must still demonstrate that Holiday Inn Club’s

investigation of their disputes was objectively unreasonable. See Felts, 893 F.3d at 1312.

Because that is a “factual question” that “var[ies] depending on the circumstances

of this case” and should “normally be reserved for trial,” however, this Court should

remand it to the district court to consider in the first instance. See Hinkle, 827 F.3d at

1302–03.

                                   CONCLUSION

      The district court’s orders granting summary judgment to Holiday Inn Club

should be reversed.

                                             Respectfully submitted,

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      This brief complies with the type-volume limitation of Federal Rule of

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                                              /s/ Neil K. Sawhney
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      I hereby certify that on December 9, 2022, I electronically filed the foregoing

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